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IN THE UNITED STATES DISTRICT COURT FOR THE 0 q D-C.
WESTERN DISTRICT oF TENNESSEE, WESTERN DIvISIoN 5 AUG 25 w 10
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F";,
JosHUA HUMRPHEY and Cll
JEFF DAVIS, "
Plaintiffs,
vs. No. 05-2398 B \/

CITY OF MEMPHIS and
ERIC RICHARDSON, individually,

Defend ants.

 

m SCHEDULING ORDER

 

Pursuant to Written notice, a scheduling conference Was held.@n-Au-g-u.sI_Zi,.ZD.Q§.
Present were Tim W. Smith, counsel for plaintiff, and Heather Kirksey, counsel for City of
Memphis. At the conference, the following dates Were established as the final dates for:
INITIAL DISCLOSURES PURSUANT TO Fed. R. Civ. P. 26(a)(1): September 8, 2005
JOINING PARTIES: October 25 , 2005
AMENDING PLEADINGS: October 25, 2005
INITIAL MOTIONS TO DISMISS: Novernber 24, 2005
COMPLETING ALL DISCOVERY:April 25, 2006

(a) DOCUMENT PRODUCTION: April 25, 2006

(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR

ADMISSIONS: April 25, 2006
(c) EXPERT WITNESS DISCLOSURE (Rule 26):

(l) DISCLOSURE OF PLAINTIFF’S RULE 26 EXPERT

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lNFORMATION: February 24, 2006
(2) DISCLOSURE OF DEFENDANT’S RULE 26 EXPERT
INFORMATION: March 24, 2006
(3) EXPERT WITNESS DEPOSITIONS: April 25, 2006
FILING DISPOSITIVE MOTIONS: May 25, 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to respond by the time permitted
by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or the service of the response, answer, or objection, Which is the
subject of the motion, if the default occurs Within 30 days of the discovery deadline, unless the
time for filing of such motion is extended for good cause shown, or the objection to the default,
response answer, or objection shall be waived.

This case is set for jury trial, and the trial is expected to last 3-5 days The pretrial order
date, pretrial conference date, and trial date Will be set by the presiding judge.

This case is appropriate for ADR. The parties are directed to engage in court-annexed
attorney mediation or private mediation after the close of discovery

The parties are reminded that pursuant to Local Rule ll (a)(l)(A), all motions, except
motions pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, Without leave of the court. lf a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for Which a reply is required.

The parties have not consented to trial before the magistrate judge
This order has been entered after consultation With trial counsel pursuant to notice,

Absent good cause shown, the scheduling dates set by this order Will not be modified or
extended

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lT IS SO ORDERED.

M
Diane K. Vescovo
UNITED STATES MAGISTRATE J'UDGE

DATE: .%_///,@M 07%2?005"

Approved for Entry:

By:
Heather Anne Kirksey, BPR # 20484
Assistant City Attorney

City of Memphis

125 N. Main Street, Room 336
Memphis, Tennessee 38103
901-576~6514 (office)

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By:
Tim W. Smith , BPR # 12803
Attomey for Plaintiffs

352 Poplar View Lane East
Collierville, Tennessee 3 8017
901-853-5055

 

 

UNITED`ATES DSTRCIIT C URT- WESERNDISTRCTI oFTNNEESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CV-02398 Was distributed by fax, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

Henry L. Klein

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Tim W. Smith

LAW OFFICE OF TIM W. SMITH
352 Poplar VieW Lane7 E.
Collierville, TN 38017

Honorable J. Breen
US DISTRICT COURT

